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 UNITED STATES DISTRICT COURT                                EASTERN DISTRICT OF TEXAS


 ALEXANDER W. LYNN, #23387-078                    §
                                                  §
 versus                                           §    CIVIL ACTION NO. 4:17-CV-670
                                                  §    CRIMINAL ACTION NO. 4:15-CR-177(1)
 UNITED STATES OF AMERICA                         §

                                     ORDER OF DISMISSAL

          The above-entitled and numbered civil action was referred to United States Magistrate

 Judge Kimberly C. Priest Johnson, who issued a Report and Recommendation (#18) concluding

 that the Motion to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody filed

 pursuant to 28 U.S.C. § 2255 should be denied and dismissed with prejudice. No objections were

 timely filed.

          The Court concludes that the findings and conclusions of the Magistrate Judge are correct,

 and adopts the same as the findings and conclusions of the Court.

          It is accordingly ORDERED that Movant’s Motion to Vacate, Set Aside, or Correct

 Sentence by a Person in Federal Custody (#10) pursuant to 28 U.S.C. § 2255 is DENIED, and

 the case is DISMISSED with prejudice. A Certificate of Appealability is DENIED. All motions

 by either party not previously ruled upon are DENIED.

           SIGNED at Beaumont, Texas, this 25th day of September, 2020.




                                             ________________________________________
                                                         MARCIA A. CRONE
                                                  UNITED STATES DISTRICT JUDGE
